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                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION


REPUBLICAN NATIONAL
COMMITTEE; MISSISSIPPI
REPUBLICAN PARTY; JAMES
PERRY; and MATTHEW LAMB                                                          PLAINTIFFS

VS.                                                         Civil Action No. 1:24-cv-25-LG-RPM

JUSTIN WETZEL, in his official
capacity as the clerk and registrar of the
Circuit Court of Harrison County, et al.                                       DEFENDANTS

                                              and

VET VOICE FOUNDATION and
MISSISSIPPI ALLIANCE FOR
RETIRED AMERICANS                                               INTERVENOR DEFENDANTS

                                        consolidated with

LIBERTARIAN PARTY OF MISSISSIPPI                                                  PLAINTIFF

VS.                                                         Civil Action No. 1:24-cv-37-LG-RPM

JUSTIN WETZEL, in his official
capacity as the clerk and registrar of the
Circuit Court of Harrison County, et al.                                       DEFENDANTS


             DEFENDANT SECRETARY OF STATE MICHAEL WATSON’S
             MOTION FOR SUMMARY JUDGMENT IN CONSOLIDATED
                         REPUBLICAN PARTY CASE


       Defendant Michael Watson, in his official capacity as Secretary of State of Mississippi

(“Defendant”), by and through counsel, pursuant to Rule 56, Federal Rules of Civil Procedure,

files this his motion for summary judgment, and in support thereof would show unto the Court the

following:


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       1.      Plaintiffs’ Complaint should be dismissed because Plaintiffs lack Article III

standing, and therefore this Court lacks subject-matter jurisdiction. Alternatively, if this Court

finds that it has jurisdiction, Plaintiffs’ claims nevertheless fail on the merits, and the Court should

enter summary judgment for Defendant, thereby disposing of this case in its entirety with

prejudice.

       2.      Plaintiffs seek to enjoin election officials from enforcing Mississippi’s mail-in

absentee ballot statute, MISS. CODE ANN. § 23-15-637(1)(a), to the extent it permits mail-in

absentee ballots—postmarked by Election Day—to be counted if received no more than five

business days after Election Day. Plaintiffs assert that the aforementioned statute violates federal

election statutes and the First and Fourteenth Amendments, specifically the right to stand for office

and the right to vote. None of these Plaintiffs has standing to bring this lawsuit, and all of their

claims fail on the merits.

       3.      Because Plaintiffs lack standing, this Court lacks subject-matter jurisdiction, and

Plaintiffs’ Complaint should be dismissed without reaching the merits. Even if this Court finds

that Plaintiffs have standing, their claims nevertheless fail on the merits, and Defendant is entitled

to summary judgment.

       4.      Defendant adopts and incorporates by reference, as if fully and completely set forth

herein, the arguments and authorities set forth in the Memorandum of Authorities in Support of

Defendant Secretary of State Michael Watson’s Motion for Summary Judgment in Consolidated

Republican Party Case, being filed contemporaneously herewith.

       5.      On the basis of the grounds asserted herein and as further set forth in the

aforementioned memorandum of authorities, Plaintiffs’ Complaint should be dismissed for lack of




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standing. Alternatively, there exists no genuine issue of material fact, and the Court should enter

summary judgment for Defendant.

       6.      In further support of his motion, Defendant submits the following:

               Exhibit 1       RNC “Who We Are” Statement (gop.com)

               Exhibit 2       MSGOP Statement (msgop.org)

       WHEREFORE, PREMISES CONSIDERED, Defendant Secretary of State Michael

Watson respectfully requests that the Court make and enter its Order dismissing Plaintiffs’

Complaint in its entirety without prejudice for lack of subject-matter jurisdiction predicated on

lack of standing or, alternatively, granting summary judgment to Defendant, thereby disposing of

Plaintiffs’ Complaint in its entirety with prejudice.

       THIS the 26th day of March, 2024.

                                               Respectfully submitted,

                                               MICHAEL WATSON, IN HIS OFFICIAL
                                               CAPACITY AS SECRETARY OF STATE OF
                                               MISSISSIPPI, DEFENDANT

                                               By:      LYNN FITCH, ATTORNEY GENERAL
                                                        STATE OF MISSISSIPPI

                                               By:      s/Rex M. Shannon III
                                                        REX M. SHANNON III (MSB #102974)
                                                        Special Assistant Attorney General

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ATTORNEYS FOR DEFENDANT MICHAEL WATSON, IN HIS OFFICIAL CAPACITY AS
SECRETARY OF STATE OF MISSISSIPPI


                               CERTIFICATE OF SERVICE

       I, Rex M. Shannon III, Special Assistant Attorney General and one of the attorneys for the
above-named State Defendant, do hereby certify that I have this date caused to be filed with the
Clerk of the Court a true and correct copy of the above and foregoing via the Court’s ECF filing
system, which sent notification of such filing to all counsel of record.

       THIS the 26th day of March, 2024.

                                                           s/Rex M. Shannon III
                                                           REX M. SHANNON III




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